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                         :~rl~   ~+ :..+          IT          '=STRICT         OF    GEORGIA
                                                  A'T'LANTA DIVISION                                         r
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UNITED STATES OF AMERICA                                                                       U11
ex rel . BRIDGETTE BECK JACOBS,                                                                                                      i
                                                                               CIVIL ACTION NO .             ~ ;=~U`.'i I .IEfk
                  Plaintiff,
                                                                               1 :98-cv-1348-BBM
         ..

PATROL SERVICES, INC .,
ANDREW W . BRYAN,                                                              FiTC-~eal
MICHELLE D . BRYAN,                                                              !~ _ ~ ~`~__ _11                7~,
ATLANTA HOUSING AUTHORITY,                             and
DOMINIUM MANAGEMENT CORP .,

                  Defendants .

                NOTICE BY UNITED STATES OF PARTIAL INTERVENTION

         Pursuant to the False Claims Act,                                 31 U .S .C .      § 3730(b)(2)               and

(4),     the United States of America,                               by its undersigned attorneys,

hereby gives notice to the Court of its election to intervene and

proceed with this action,                          in part,         and to decline to intervene and

proceed with this action,                          in part,         at    this time .

                                           STATEMENT OF THE CASE

         The subject Complaint,                         brought against defendants by Relator

Bridgette Beck Jacobs                      ("Relator"),             was filed,           in the United States

District        Court     for         the Northern District                         of   Georgia,     on May            12,

1998 .        [R-1] .'     The         False           Claims       Act    provides          that     a     gui         tam

complaint         shall     remain            under          seal    for    at       least   sixty        (60)     days

after         receipt    by      the         United          States       of    that      complaint         and         the

statement of material evidence and information from the Relator . 31

U .S .C .     § 3730(b)(2) .                      By Orders entered previously in this case,


        References are to the docket entries maintained                                                      by         the
Clerk's Office for documents filed in this case .




                                                                                                                                     A) I
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the   Court     has      granted    the       -applications          of    the    United        States      to

                                                                                                 rrLber    29


2000 .    Moreover,        by Orders dated September 21,                         1999,      and November

2,    i999,     the      Court     partially         lifted        the     sea!        upon     Relator's

Complaint        in      order    that    the    United        States       could        disclose         that

Complaint           to      defendants          Dominium             Management              Corporation

("Dominium")          and Atlanta Housing Authority                       ("AHA") .

         With regard to the allegations at issue in this case,                                    Relator

has   named     the      following       individuals           and   entities          as   defendants :

Patrol Services,           Inc . ; Andrew W . Bryan ;             Michelle D . Bryan ; Atlanta

Housing Authority ;              and Dominium Management Corporation .                            Relator

Jacobs has charged defendants with having engaged                                      in a series of

actions that          have resulted in the submission of                           false claims            for

labor costs associated with security services provided at Atlanta

Housing Authority communities .                      Those actions are alleged to have

included        the      submission      of     claims      for      payment       that :       failed      to

reflect       the     accurate      number      of       hours    worked         for     each    employee

providing        security         services       at       an     Atlanta         Housing        Authority

community ;         requested       payments         for    work      allegedly          performed          by

employees that had been terminated ;                        submitted duplicate bills                      for

hours worked by employees ;                and sought payments                   for work performed

by    "ghost"    employees .

          DECISION OF THE UNITED STATES REGARDING INTERVENTION

         With    regard     to     the   claims       in    the      Relator's         Complaint,          the

United States hereby gives notice to the Court of its election to

intervene,          in part,      and proceed with this                   action,      with regard to


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                ..~ ~       ..        `hC              c i atvi ~   6   CID iilrialilC     L[1dC   charges           ClEtendants


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               .. .                         ~.        ~Yoi .   wi~ia     iidvlliy       SUUfTl1LL2C1   OT     CdL152C1        t.0     b2


submitted                 false           f`lliiTlg          for     l abor    costs       associated         with         secuiity


services provided at Atlanta Housing Authority communities .                                                                          The

United States                       shall assume primary responsibility for prosecuting

this portion of                           the Relator's Complaint,                          pursuant         to    31 U .S .C .

3730(c),               and        will            at     a   later date           substitute         its      own     Complaint

regarding                  such           misconduct                 in    lieu      of     the    Relator's               qui        tam

Complaint .

          With regard to the remaining claims                                               for damages arising from

the submission of                                 false claims            that are          raised in the Relator's

qui       tam Complaint,                             the     United States            hereby gives            notice          to      the

Court of               its election not to intervene on those claims and not to

intervene against                              defendant Atlanta Housing Authority .2                                      Although

the United States declines to intervene on these remaining claims

against                defendant                  Atlanta           Housing      Authority         at     this        time,           the

United             States               respectfully                    refers       the     Court      to     31         U .S .C .     §

3730(b)(1),                    which allows the Relator to maintain those claims                                                       in

the name of the United States,                                            subject to the conditions that                              the

"action may be dismissed only if the court and the Attorney General


     `    In addition to filing claims for damages arising from the
alleged submission of false claims, pursuant to section 3729 of the
FCA, 31     U .S .C . § 3729, Relator has filed a claim for damages
arising from her alleged wrongful termination by defendant Patrol
Services, Inc . The intervention of the United States in this case
is limited to Relator's claims for damages under section 3729 of
the FCA .   The United States is not intervening in and will not be
litigating Relator's wrongful termination claim, which has been
brought under section 3730(h) of the FCA, 31 U .S .C . § 3730(h) .

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                                                          iiie    United       States        rerniesrq         that .

5iivulu      Lice   Reiacor or             any of        one     defendants propose                to    dismiss,

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       °             otherwise         -1~SC...:~ii.~ :2         any   port- vR       vi       h is
                                                                                             t ii5    dC L1V11      in



which       the     United        States          has     declined       to      intervene,           the      Court

provide       the        United      States        with    notice        and     an    opportunity            to    be

heard before ruling or granting its approval .

        Pursuant to 31 U .S .C .                  § 3730(c)(3),          the United States reserves

the     right       to    intervene          on    the     unadopted         claims         and   against          the

unadopted defendant in this action at a later date,                                           upon a showing

of    good    cause,           and   further        asserts        its      right      to    continue         to    be

served       will        copies       of     all    pleadings          in     this     action,          and     upon

request and at             the government's expense,                        copies of transcripts of

depositions taken in this action .                               Service should be made upon the

undersigned attorneys T .                        Reed Stephens and Daniel A .                     Caldwell .

        Finally,          the    United          States        requests      that      the    Complaint            and

this     Notice           be    unsealed            and    thereafter            be      served         upon       the

defendants .             Moreover,          the United States               requests         that the Court

unseal       all     orders          that    have        been     entered        in   this     case      and       the

Notice dated August 15,                      2000, by which counsel                   for the Government

and Relator were                notified of              the     transfer of          this    case      from       the

Honorable Richard W .                 Story to the Honorable Beverly B .                           Martin .        [R-

2,5,7,9,11,13,15,17,19,21,23,                            and 25] .     However,        the United States

further        requests          that        all     other        pleadings,          declarations,                and

supporting           materials             previously            filed      by     the      United       States,

including pleadings requesting additional time in which to consider


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made public or sarvpri ;.,r

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                                  Respectfully submitted,

                                  DAVID W . OGDEN
                                  ACTING ASSISTANT ATTORNEY GENERAL

                                  Rrrpa_apr~ v     ~Lr,~         Vlt .


                                  UNITED STATES ATTORNEY

                                  AD 0

                                  DANIEL A . CALDWELL
                                  ASSISTANT U .S . ATTORNEY
                                  Georgia Bar No . 102510

                                  1800 U .S . Courthouse
                                  75 Spring Street, S .W .
                                  Atlanta, Georgia 30335
                                   (404) 581-6224

                                  MICHAEL F . HERTZ
                                  POLLY A . DAMMANN
                                  T . REED STEPHENS
                                  U .S . DEPARTMENT OF JUSTICE
                                  P .O . Box 261
                                  Ben Franklin Station
                                  Washington, D .C . 20044
                                   (202) 307-0404

                                  Counsel for United States
                                  of America




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      i   hereby     certify        that    on   this    date     she   foregoing    Notice    of

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                              uaa     pivNCocu      Order       -were   served   LPOT   YPlaroT',


by   first-class       mail,         with       adequate    postage        affixed      thereto,

addressed to :

            nA=7cg   aprl:.. of 1     g..
                                       . .1 .
            304 Macy Drive
            Roswell, Georgia 30076

      This 29th day of December,                  2000


                                      ~9~L'I, 16d],..a
                                      DANIEL A . CALDWELL
                                      ASSISTANT U .S . ATTORNEY
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    ~rl. G ~y     2100U
                                 7N THE UNITED STATES DISTRICT COURT
                                FOR THE NORTHERN DISTRICT OF GEORUiA


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    11niT'rgn-~fi~rq_~rFS OF AMERICA
    ex   rel .      BRTDGETTE BECK JACUBS,
                                                                     CIVIL ACTION NO .
                          Plaintiff,
                                                                     1 :98-cv-1348-BEM
           v .

    PATROL SERVICES, INC .,
    ANDREW W . BRYAN,                                                Filed Under Seal
    MICHELLE D . BRYAN,
    ATLANTA HOUSING AUTHORITY,                 and
    DOMINIUM MANAGEMENT CORP .,

                          Defendants .

                                                     ORDER

            Pursuant            to the False Claims Act,            31   U .S .C .    §   3730,   and the

    Notice        filed by the United States on December 29,                          2000,      regarding

    its partial intervention in this action,

            IT IS HEREBY ORDERED that

            1 .           the Complaint     filed by Relator Bridgette Beck Jacobs be

    unsealed          in order      that    it may be          served upon defendants             in this

    action by the Relator ;

            2 .           the   United    States    is    granted        leave       to   file    its   own

    Complaint             in lieu of the Relator's qui              tam Complaint ;

            3 .           the   United     States    is    entitled        to    intervene         in    the

    unadopted             claims    and    against       the    unadopted        defendant        in    this

    action,         for good cause,         at any time ;

            4 .           should the Relator or any of the defendants propose that

    his action be dismissed,                  settled,         or otherwise discontinued,                the

    Court will solicit the written consent of the United States before

    ruling or granting its approval ;
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        5 .     all        prc~.~ic ::sl-y           , i 1e"'       pieauiiiys,               declarations,             and

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action        from     the      Honorable            Richard             P1 .     Story       to    the   undersigned

United States            District            Judge,       shall remain under seal                           and not       be

made public or served upon the defendants ;

        6 .     the      Relator            shall        serve       this           Order      and    the   Notice        of

Partial       Intervention               that      has been filed by the United States of

America upon defendants                       in this          action only                  after    service      of    the

Relator's Complaint upon those defendants ;                                             and

        7 .     all parties to this action shall serve the United States,

through       its     attorneys             of     record,          T.     Reed        Stephens       and Daniel         A.

Caldwell,       with copies                 of     all   pleadings                filed in this           action and,

upon request            and at          the      government's                   expense,       shall      provide       the

United States            copies of               transcripts              of depositions              taken      in this

action .



        SO ORDERED this                                  day of                                              ,




                                                                     BEVERLY B . MARTIN
                                                                     UNITED STATES DISTRICT JUDGE

Presented by :

 ~.1 Ct .
Daniel A . Caldwell
Assistant United States Attorney
Georgia Bar No . 102510




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